          Case 3:18-cv-02258-FLW-ZNQ Document 21 Filed 06/19/19 Page 1 of 1 PageID: 70
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                                                     State of New Jersey
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                                                               May 9, 2019

          VIA ECF
          Hon.    Lois G. Goodman, U.S.M.J.
          UIJITED STATES DISTRICT COURT
          Martin Luther King Building & U.S. Courthouse
          50 Walnut Street, Room 4015
          Newark, NJ 07101

                          Re:         LaFrankie-Pricipato v. New Jersey Board of Public Utilities, et al.
                                      Civil Action No. 18-CV-02258
          Dear Judge Goodman:

             This office represents Defendants in the above-referenced matter. The parties recently
          submitted a joint letter outlining the outstanding discovery issues in this case. Assuming that the
          Court grants Defendants’ requests for supplemental discovery, additional time will likely be
          needed to obtain, produce and review the Plaintiff and her son’s medical records.

              Please be advised that I am scheduled to begin maternity leave later this month or early in June.
          At this point, it appears that discovery may end in this case while I am out of the office. In light of
          the circumstances, Defendants respectfully request that this matter be held in abeyance and the
          deadline for dispositive motions be adjourned until after I return to work in October.

               Thank you for your attention to this matter.

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                                                                    GURBIR S. GREWAL
                                                                    ATTORNEY GENERAL OF NEW JERSEY
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       DcNb..
                                                       By:          /s/DeborahA. Hay
                                                                    Deborah A. Hay, Deputy Attorney General
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